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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JUAN SANTIAGO SIERRA,
on behalf of himself, FLSA Collective Plaintiffs
and the Class,                                         Case No.:

                      Plaintiff,
                                                       CLASS AND COLLECTIVE
                                                       ACTION COMPLAINT
                      v.
                                                       Jury Trial Demanded
PASSON & PASSON CORP.,
229 BLEECKER LLC d/b/a TERRA,
225 WEST BROADWAY CORP
d/b/a ATTRAVERSA,
GOOD LUCK RIBBON CORP.
 d/b/a ARICCIA, 7 WASHINGTON LANE CORP.
d/b/a ARIA HELL’S KITCHEN,
228 BLEECKER LLC d/b/a ARIA,
BRICIOLA CORP. d/b/a BRICIOLA,
230 BLEECKER CORP. d/b/a COTENNA,
62 CARMINE CORP. d/b/a CODINO,
329 BLEECKER CORP. d/b/a LABORATORIO,
 ROBERTO PASSON, TANYA HIRA-PASSON

                      Defendants.



       Plaintiff, JUAN SANTIAGO SIERRA (herein, “Plaintiff” or Plaintiff JUAN

SANTIAGO SIERRA), on behalf of himself and others similarly situated, by and through his

undersigned attorneys, hereby files this class and collective action Complaint against

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Defendants, PASSON & PASSON CORP., 229 BLEECKER LLC d/b/a TERRA, 225 WEST

BROADWAY CORP d/b/a ATTRAVERSA,

GOOD LUCK RIBBON CORP., d/b/a ARICCIA, 7 WASHINGTON LANE CORP. d/b/a ARIA

HELL’S KITCHEN, 228 BLEECKER LLC d/b/a ARIA, BRICIOLA CORP. d/b/a BRICIOLA,

230 BLEECKER CORP. d/b/a COTENNA, 62 CARMINE CORP. d/b/a CODINO, 329

BLEECKER CORP. d/b/a LABORATORIO (the “Corporate Defendants”), ROBERTO

PASSON (“Individual Defendant”), TANYA HIRA-PASSON (“Individual Defendant”) (each

individually, “Defendant” or, collectively, “Defendants”) and states as follows:

                                       INTRODUCTION

      1.    Plaintiff alleges, pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C. §§

201 et. seq. (“FLSA”), that he, FLSA Collective Plaintiffs and similarly situated individuals are

entitled to recover from Defendants: (1) unpaid overtime due to a policy of time-shaving (2)

liquidated damages, and (3) attorneys’ fees and costs.

      2.    Plaintiff further alleges that, pursuant to the New York Labor Law (“NYLL”), he and

others similarly situated are entitled to recover from Defendants: (1) unpaid minimum wage, (2)

unpaid overtime due to a policy of time-shaving (3) unpaid spread of hours premium, (4)

improper meal credit deductions, (5) statutory penalties, (6) liquidated damages, and (7)

attorneys’ fees and costs.

                                  JURISDICTION AND VENUE

      3.    This Court has jurisdiction over this controversy pursuant to 29 U.S.C. § 216(b), 28

U.S.C. §§ 1331, 1337 and 1343 and has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367.

      4.    Venue is proper in the Southern District pursuant to 28 U.S.C. § 1391.



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                                             PARTIES

        5.    Plaintiff, JUAN SANTIAGO SIERRA, is a resident of New York County, New

York.

        6.    Defendants own and operate nine (9) restaurants located throughout New York City:

        (a) TERRA - 222 West Broadway, New York, New York 10007
        (b) ATTRAVERSA – 225 West Broadway, New York New York 10013
        (c) ARICCIA – 14 Bedford Street, New York, New York, 10014
        (d) ARIA HELL’S KITCHEN – 369 West 51st Street, New York, New York 10019
        (e) ARIA WEST VILLAGE – 117 Perry Street, Store #2, New York, New York 10014
        (f) BRICIOLA – 370 West 51st Street, New York, New York 10019
        (g) COTENNA – 21 Bedford Street, New York, New York 10014
        (h) CODINO – 62 Carmine Street, New York, New York 10014
        (i) LABORATORIO – 329 West 51st Street New York, New York 10019



        7.    Corporate Defendant PASSON & PASSON CORP. is a domestic limited liability

company with a principal place of business and address of service of process located at 613 W

145th Street, New York, New York 10031. Defendants operate and own all other locations.

        8.    Corporate Defendant 229 BLEECKER LLC d/b/a TERRA is a domestic limited

liability company with a principal place of business located at 222 West Broadway, New York,

New York 10007 and an address for service of process located at 408 W 145th Street, New York,

New York 10031.

        9.    Corporate Defendant 225 WEST BROADWAY CORP d/b/a ATTRAVERSA is a

domestic limited liability company with a principal place of business and executive office

located at 225 West Broadway, New York New York 10013. Defendant has an agent and an

address for service of process located a c/o RESHMA HIRA 613 W 145th Street, New York,

New York 10031.

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     10.    Corporate Defendant GOOD LUCK RIBBON CORP. d/b/a ARICCIA is a domestic

limited liability company with a principal place of business located at 14 Bedford Street, New

York, New York 10007 and an address for service of process located at 613 W 145th Street, New

York, New York 10031.

     11.    Corporate Defendant 7 WASHINGTON LANE CORP. d/b/a ARIA HELL’S

KITCHEN is a domestic limited liability company with a principal place of business located at

222 West Broadway, New York, New York 10007, and an executive office and address for

service of process located at 408 W 145th Street, New York, New York 10031.

     12.    Corporate Defendant 228 BLEECKER LLC d/b/a ARIA is a domestic limited

liability company with a principal place of business located at 117 Perry Street, New York, New

York 10014 and an address for service of process located at 408 W 145th Street, New York, New

York 10031.

     13.    Corporate Defendant BRICIOLA CORP. d/b/a BRICIOLA is a domestic limited

liability company with a principal place of business located at 370 West 51st Street, New York,

New York 10019 and an address for service of process and executive office located at 408 W

145th Street, New York, New York 10031.

     14.    Corporate Defendant 230 BLEECKER CORP. d/b/a COTENNA is a domestic

limited liability company with a principal place of business located at 21 Bedford Street, New

York, New York 10014 and an address for service of process located at 400 West 56th Street,

Suite 5H New York, New York 10019.

     15.    Corporate Defendant 62 CARMINE CORP. d/b/a CODINO is a domestic limited

liability company with a principal place of business located at 62 Carmine Street, New York,




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New York 10014 and an address for service of process located at 613 W 145th Street, New York,

New York 10031.

     16.    Corporate Defendant 329 BLEECKER CORP. d/b/a LABORATORIO is a domestic

limited liability company with a principal place of business located at 329 West 51st Street New

York, New York 10019 and an address for service of process located at 408 W 145th Street, New

York, New York 10031.

     17. Individual Defendant ROBERTO PASSON is an owner and principal of each of the

Corporate Defendants. ROBERTO PASSON exercised control over the terms and conditions of

Plaintiff’s employment and those of FLSA Collective Plaintiffs and the Class. ROBERTO

PASSON exercised functional control over the business and financial operations of the

Corporate Defendants. ROBERTO PASSON had the power and authority to supervise and

control supervisors of Plaintiff, FLSA Collective Plaintiffs and Class members and could

reprimand employees.

     18. Individual Defendant TANYA HIRA-PASSON is an owner and principal of each of

the Corporate Defendants. TANYA HIRA-PASSON exercised control over the terms and

conditions of Plaintiff’s employment and those of FLSA Collective Plaintiffs and the Class.

TANYA HIRA-PASSON exercised functional control over the business and financial operations

of the Corporate Defendants. TANYA HIRA-PASSON had the power and authority to supervise

and control supervisors of Plaintiff, FLSA Collective Plaintiffs and Class members and could

reprimand employees.

     19. At all relevant times, Corporate Defendants were and continue to be an “enterprise

engaged in commerce” within the meaning of the FLSA.




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      20. At all relevant times, the work performed by Plaintiff, FLSA Collective Plaintiffs and

Class members was directly essential to the business operated by Defendants.

                         FLSA COLLECTIVE ACTION ALLEGATIONS

      21. Plaintiff brings claims for relief as a collective action pursuant to FLSA Section

16(b), 29 U.S.C. § 216(b), on behalf of all non-exempt front-of-house and back-of-house

employees (including delivery persons, servers, runners, bussers, porters, cooks, line-cooks, food

preparers and dishwashers) employed by Defendants on or after the date that is six years before

the filing of the Complaint in this case as defined herein (herein, “FLSA Collective Plaintiffs”).

      22.      At all relevant times, Plaintiff and the other FLSA Collective Plaintiffs are and have

been similarly situated, have had substantially similar job requirements and pay provisions, and

are and have been subjected to Defendants’ decisions, policies, plans, programs, practices,

procedures, protocols, routines, and rules, all culminating in a willful failure and refusal to pay

them their proper wages, including their overtime premium at one and a half times the regular

rate for all hours worked over forty (40) in a workweek, due to a policy of time-shaving. The

claims of Plaintiff stated herein are essentially the same as those of the other FLSA Collective

Plaintiffs.

      23.      The claims for relief are properly brought under and maintained as an opt-in

collective action pursuant to § 16(b) of the FLSA, 29 U.S.C. 216(b). The FLSA Collective

Plaintiffs are readily ascertainable. For purposes of notice and other purposes related to this

action, their names and addresses are readily available from the Defendants. Notice can be

provided to FLSA Collective Plaintiffs via first class mail to the last address known to

Defendants.




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                      RULE 23 CLASS ALLEGATIONS – NEW YORK

      24.    Plaintiff brings claims for relief pursuant to the Federal Rules of Civil Procedure

(“F.R.C.P.”) Rule 23, on behalf of all non-exempt front-of-house and back-of-house employees

(including delivery persons, servers, runners, bussers, porters, cooks, line-cooks, food preparers

and dishwashers) employed by Defendants on or after the date that is six years before the filing

of the Complaint in this case as defined herein (the “Class Period”).

      25.    All said persons, including Plaintiff, are referred to herein as the “Class.” The Class

members are readily ascertainable. The number and identity of the Class members are

determinable from the records of Defendants. The hours assigned and worked, the position held,

and rates of pay for each Class member are also determinable from Defendants’ records. For

purposes of notice and other purposes related to this action, their names and addresses are readily

available from Defendants. Notice can be provided by means permissible under F.R.C.P. 23.

      26.    The proposed Class is numerous that a joinder of all members is impracticable, and

the disposition of their claims as a class will benefit the parties and the Court. Although the

precise number of such persons is unknown, the facts on which the calculation of that number

are presently within the sole control of Defendants, there is no doubt that there are more than

forty (40) members of the Class.

      27.    Plaintiff’s claims are typical of those claims that could be alleged by any member of

the Class, and the relief sought is typical of the relief, that would be sought by each member of

the Class in separate actions. All the Class members were subject to the same corporate practices

of Defendants of (i) failing to pay wages for all hours worked due to a policy of time-shaving,

(ii) failing to pay overtime premium for hours worked in excess of 40 per workweek due to a




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policy of time-shaving (iii) improper meal credit deductions (iv) failing to pay spread of hours

premium and (v) failing to provide proper wage notices to employees.

     28.    Defendants’ corporate-wide policies and practices affected all Class members

similarly, and Defendants benefited from the same type of unfair and/or wrongful acts as to each

Class member. Plaintiff and other Class members sustained similar losses, injuries and damages

arising from the same unlawful policies, practices and procedures.

     29.    Plaintiff is able to fairly and adequately protect the interests of the Class and has no

interests antagonistic to the Class. Plaintiff is represented by attorneys who are experienced and

competent in both class action litigation and employment litigation and have previously

represented Plaintiffs in wage and hour cases.

     30.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of the wage and hour litigation

where individual class members lack the financial resources to vigorously prosecute a lawsuit

against corporate defendants. Class action treatment will permit a large number of similarly

situated persons to prosecute common claims in a single forum simultaneously, efficiently, and

without the unnecessary duplication of efforts and expense that numerous individual actions

engender. Because of losses, injuries and damages suffered by each of the individual Class

members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual Class

members to redress the wrongs done to them. On the other hand, important public interests will

be served by addressing the matter as a class action. The adjudication of individual litigation

claims would result in a great expenditure of Court and public resources; however, treating the

claims as a class action would result in a significant saving of these costs. The prosecution of



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separate actions by individual members of the Class would create a risk of inconsistent and/or

varying adjudications with respect to the individual members of the Class, establishing

incompatible standards of conduct for Defendant and resulting in the impairment of class

members’ rights and the disposition of their interests through actions to which they were not

parties. The issues in this action can be decided by means of common, class-wide proof. In

addition, if appropriate, the Court can, and is empowered to, fashion methods to efficiently

manage this action as a class action.

      31.    Defendants and other employers throughout the state violate the New York Labor

Law. Current employees are often afraid to assert their rights out of fear of direct or indirect

retaliation. Former employees are fearful of bringing claims because doing so can harm their

employment, future employment, and future efforts to secure employment. Class actions provide

class members who are not named in the Complaint a degree of anonymity, which allows for the

vindication of their rights while eliminating or reducing these risks.

      32.    There are questions of law and fact common to the Class which predominate over

any questions affecting only individual class members, including:

       a.    Whether Defendants employed Plaintiff and the Class within the meaning of the

             New York law;

       b.    What are and were the policies, practices, programs, procedures, protocols and plans

             of Defendants regarding the types of work and labor for which Defendants did not

             properly pay Plaintiff and the Class members;

       c.    At what common rate, or rates subject to common methods of calculation, was and

             are Defendants required to pay Plaintiff and the Class members for their work;




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       d.     Whether Defendants properly notified Plaintiff and the Class members of their

              hourly rates and overtime rates;

       e.     Whether Defendants paid Plaintiff and Class members the proper overtime

              compensation under the New York Labor Law;

       f.     Whether Defendants took the proper amount of meal credit allowance for each

              payment period under the New York Labor Law;

       g.     Whether Defendants provided proper wage notice, at date of hiring and annually

              thereafter, to all non-exempt employees per requirements of the New York Labor

              Law;

       h.     Whether Defendants properly compensated Plaintiff and Class members for

              overtime under state and federal law;

       i.     Whether Defendants properly compensated employees their minimum wage rate

              under state and federal law; and

       j.     Whether Defendants paid Plaintiff and Class members the New York State spread of

              hours premium when their workdays exceeded ten (10) hours.

                                   STATEMENT OF FACTS

     33.     Plaintiff JUAN SANTIAGO SIERRA:

       (a) In or around August 2018, Plaintiff JUAN SANTIAGO SIERRA was hired by

Defendants to work as a dishwasher and salad prepper for Defendants at their TERRA location.

Plaintiff frequently had to assist at the ATTRAVERSA, and ARIA locations. Plaintiff was

employed by Defendants until in or around October 2019.

       (b) From in or around August 2018 through January 2019, Plaintiff JUAN SANTIAGO

SIERRA regularly worked sixty-six (66) hours per week from 11a.m. to 10 p.m., for six (6) days



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a week. From in or around January 2019 until the end of his employment with Defendants in

October of 2019, Plaintiff regularly worked from 3:00p.m. to 12:00a.m. for six (6) days a week,

for a total of fifty-four (54) hours per week.

       (c) From in or around August 2018 through the end of January 2019, Plaintiff JUAN

SANTIAGO SIERRA was compensated by check at a rate of $8.00 per hour for all hours

worked, well below the New York minimum wage of $13.00 per hour at the time. From January

2019 to October of 2019, Plaintiff JUAN SANTIAGO SIERRA was compensated at a rate of

$15.00 per hour for all hours worked. Throughout his employment with Defendants, Plaintiff

JUAN SANTIAGO SIERRA regularly worked without any breaks on a daily basis, yet

Defendants still deducted one (1) hour of work from his paycheck for each day he worked, for a

total of six (6) hours a week.

      34.    Plaintiff, FLSA Collective Plaintiffs, and Class members were not paid all wages or

their overtime premium, at a rate of time and one half of the regular hourly rate, for all hours

worked and for those exceeding forty (40) hours per workweek due to Defendants’ policy of

time-shaving during the relevant statutory period.

      35.    Plaintiff and Class members regularly worked days exceeding ten (10) hours in

length, but Defendants unlawfully failed to pay Plaintiff and Class members their spread-of-

hours premium for workdays that exceeded ten hours in length.

      36.    Throughout Plaintiff’s employment with Defendants, Defendants deducted $30.90

per week from his pay as a meal credit, well above what was legally permissible in 2018 and

2019. On most days Plaintiff was not provided with a meal break yet still had the meal credit

deducted. Furthermore, the food that was provided was insufficient. Only chicken and some form

of pasta was provided. Claimant was never given any fruit or vegetables, and he had to purchase



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his own drinks, thus the meals were only made up of two of the four required food groups. All

Class Members were subject to an automatic deduction for meals even though no meal was

effectively provided.

      37.    Defendants failed to properly provide Plaintiff and the Class members with proper

wage notices in statutory compliance with the New York Labor Law.

      38.    Defendants knowingly and willfully operated their business with a policy of not

paying for all hours worked, and the proper overtime rate thereof for all hours worked to

Plaintiff, FLSA Collective Plaintiffs, and Class members in violation of the FLSA.

      39.    Defendants knowingly and willfully operated their business with a policy of not

paying the New York State minimum wage, and the proper overtime rate thereof for all hours

worked to Plaintiff and class members, due to a policy of time-shaving, in violation of the

NYLL.

      40.    Defendants knowingly and willfully operated their business with a policy of not

paying spread-of-hours premium to Plaintiff and Class members, in violation of the NYLL.

      41.    Defendants knowingly and willfully claimed an unlawful meal credit from Plaintiff’s

and class members’ wages, in violation of the NYLL

      42.    Plaintiff retained Lee Litigation Group, PLLC to represent Plaintiff, FLSA

Collective Plaintiffs and Class members.




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                                   STATEMENT OF CLAIM

                                           COUNT I

                   VIOLATION OF THE FAIR LABOR STANDARDS ACT

      43.    Plaintiff realleges Paragraphs 1 through 42 of this Class and Collective Action

Complaint as fully set forth herein.

      44.    At all relevant times, Defendants were and continue to be employers engaged in

interstate commerce and/or the production of goods for commerce within the meaning of the

FLSA, 29 U.S.C. §§ 206(a) and 207 (a). Further, Plaintiff and FLSA Collective Plaintiffs are

covered individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207 (a).

      45.    At all relevant times, Defendants employed Plaintiff and FLSA Collective Plaintiffs

within the meaning of the FLSA.

      46.    At all relevant times, Corporate Defendants had gross annual revenues in excess of

$500,000.

      47.    At all relevant times, the Defendants had a policy and practice that failed to pay

overtime compensation at the statutory rate of time and one-half to Plaintiff and FLSA Collective

Plaintiffs for all hours worked in excess of forty (40) hours per workweek due to a policy of

time-shaving.

      48.    Defendants failed to pay Plaintiff and FLSA Collective Plaintiffs overtime

compensation in the lawful amount for hours worked in excess of the maximum hours provided

for in the FLSA.

      49.    Defendants failed to pay Plaintiff and FLSA Collective Plaintiffs their wages in the

lawful amount for their hours worked.

      50.    Records, if any, concerning the number of hours worked by Plaintiff and FLSA



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Collective Plaintiffs and the actual compensation paid to Plaintiff and FLSA Collective Plaintiffs

should be in the possession and custody of the Defendants. Plaintiff intend to obtain these

records by appropriate discovery proceedings to be taken promptly in this case and, if necessary,

will then seek leave of Court to amend this Complaint to set forth the precise amount due.

      51.    Defendants knew of and/or showed a willful disregard for the provisions of the

FLSA as evidenced by their failure to compensate Plaintiff and FLSA Collective Plaintiffs their

proper wages, including their proper overtime premium, when Defendants knew or should have

known such was due.

      52.    Defendants failed to properly disclose or apprise Plaintiff and FLSA Collective

Plaintiffs of their rights under the FLSA.

      53.    As a direct and proximate result of Defendants’ willful disregard of the FLSA,

Plaintiff and FLSA Collective Plaintiffs are entitled to liquidated (i.e., double) damages pursuant

to the FLSA.

      54.    Due to the intentional, willful and unlawful acts of Defendants, Plaintiff and FLSA

Collective Plaintiffs suffered damages in an amount not presently ascertainable of unpaid wages

and unpaid overtime, plus an equal amount as liquidated damages.

      55.    Plaintiff and FLSA Collective Plaintiffs are entitled to an award of their reasonable

attorneys’ fees and costs pursuant to 29 U.S.C. §216(b).



                                             COUNT II

                      VIOLATION OF THE NEW YORK LABOR LAW

      56.    Plaintiff realleges Paragraphs 1 through 55 of this Class and Collective Action

Complaint as if fully set forth herein.



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     57.    At all relevant times, Plaintiff and Class members were employed by the Defendants

within the meaning of the New York Labor Law, §§ 2 and 651.

     58.    Defendants willfully violated the rights of Plaintiffs and Class members by failing to

pay them the minimum wage, and overtime compensation at the rate of not less than one and

one-half times the regular rate of pay for each hour worked in excess of forty (40) hours in a

workweek.

     59.    Defendants failed to properly notify employees of their overtime rate, in direct

violation of the New York Labor Law.

     60.    Defendants willfully violated Tipped Subclass members’ rights by failing to pay

them the statutory minimum wage rate, and the proper overtime rate thereof. Defendants were

not entitled to claim any tip credits under the New York Labor Law.

     61.    Plaintiff and Class members regularly worked days that exceeded ten hours per day.

Defendants willfully violated Plaintiff’s and Class members’ rights by failing to pay spread of

hours premium to Plaintiff and Class members for each day their workday exceeded ten (10)

hours.

     62.    Defendants knowingly and willfully operated their business with a policy of not

providing all non-exempt employees proper wage notice, at date of hiring and annually

thereafter, as required under the New York Labor Law.

     63.    Due to the Defendants’ New York Labor Law violations, Plaintiff and Class

members are entitled to recover from Defendants unpaid minimum wage, unpaid overtime,

unpaid spread of hours premium, damages for unreasonably delayed payments, reasonable

attorneys’ fees, liquidated damages, statutory penalties and costs and disbursements of the

action, pursuant to New York Labor Law.



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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff on behalf of himself, FLSA Collective Plaintiffs and Class

members, respectfully request that this Court grant the following relief:

       a.    A declaratory judgment that the practices complained of herein are unlawful under

             the FLSA and the New York Labor Law;

       b.    An injunction against Defendants and their officers, agents, successors, employees,

             representatives and any and all persons acting in concert with them as provided by

             law, from engaging in each of the unlawful practices, policies and patterns set forth

             herein;

       c.    An award of unpaid overtime compensation due under the FLSA and the New York

             Labor Law;

       d.    Am award of unpaid minimum wage due under the New York Labor Law;

       e.    An award of unpaid spread of hours premium due under the New York Labor Law;

       f.    An award of liquidated and/or punitive damages as a result of Defendants’ willful

             failure to pay overtime compensation pursuant to 29 U.S.C. § 216;

       g.    An award of liquidated and/or punitive damages as a result of Defendants’ willful

             failure to pay overtime compensation, minimum wages, and “spread of hours”

             premium pursuant to the New York Labor Law;

       h.    An award of statutory penalties, prejudgment and post judgment interest, costs and

             expenses of this action together with reasonable attorneys’ and expert fees and

             statutory penalties;

       i.    Designation of Plaintiff as Representative of the FLSA Collective Plaintiffs;

       j.    Designation of this action as a class action pursuant to F.R.C.P. 23;



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        k.    Designation of Plaintiff as Representative of the Class; and

        l.    Such other and further relief as this Court deems just and proper.

                                           JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable as of right by jury.

Dated: January XX, 2020                          Respectfully submitted,

                                          By: /s/ C.K. Lee
                                              C.K. Lee, Esq.

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                                                 Plaintiffs and the Class




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